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                               No. 22-51043



          United States Court of Appeals
               for the Fifth Circuit

U NITED S TATES    OF   A MERICA ,

                                                               Plaintiff–Appellee,

                                       v.

PAUL LUNA ,

                                                           Defendant–Appellant.


              Appeal from the United States District Court
                   for the Western District of Texas
                         No. 1:22-CR-142-LY


       A PPELLEE ’ S M OTION FOR S UMMARY A FFIRMANCE
           I N L IEU OF F ILIN G AN A PPELLEE ’ S B RIEF
     In lieu of filing an appellee’s brief, the United States respectfully re-
quests that this Court summarily affirm Paul Luna’s conviction. In sup-
port of this motion, the United States shows:

                             I NTRODUCTION

     Luna was convicted of being a felon in possession of a firearm in

violation of 18 U.S.C. § 922(g)(1). He raises two purely legal challenges to
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§ 922(g)(1), both for the first time on appeal. Both challenges fail under
controlling law. As this Court has repeatedly recognized, no binding prec-

edent supports (and a mountain of persuasive authority unanimously re-
jects) Luna’s Second Amendment claim. Thus, Luna raises no substantial
argument that the district court plainly erred. And, as Luna concedes,
binding precedent forecloses his Commerce Clause claim. This Court
should summarily affirm Luna’s conviction.

                             B ACKGROUND

     Luna was wanted for aggravated assault with a deadly weapon.
(ROA.53, 551.) Police officers found Luna’s car and followed him to a
Walmart, where they arrested him. (ROA.53, 551.) They found a loaded
9-millimeter pistol in Luna’s waistband and methamphetamine, heroin,
and cash in his pockets. (ROA.53, 551.) Luna had numerous prior felony
convictions, including for violent and drug crimes. (ROA.54–55, 554–63.)
Luna was charged with being a felon in possession of a firearm. (ROA.7.)
See 18 U.S.C. § 922(g)(1). He pled guilty without a plea agreement.
(ROA.193–94, 551.) The district court sentenced him to 96 months’ im-
prisonment. (ROA.156, 284.)
     On appeal, Luna raises two forfeited constitutional challenges to

§ 922(g)(1), the statute under which he was convicted. First, he claims that
§ 922(g)(1) violates the Second Amendment under the framework set forth
in New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111

(2022). (See Def. Br. 8–38.) Second, he claims that § 922(g)(1) exceeds
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Congress’s power under the Commerce Clause unless construed as requir-
ing a closer connection to interstate commerce than the “minimal nexus”

required by the Supreme Court’s and this Court’s precedents. (See Def. Br.
39–45.)

                               A RGUMENT

     This Court should summarily affirm Luna’s conviction. “Summary
affirmance is appropriate if ‘the position of one of the parties is clearly

right as a matter of law so that there can be no substantial question as to
the outcome of the case.’” United States v. Arambula, 950 F.3d 909, 909 (5th
Cir. 2020) (quoting Groendyke Transp. Inc. v. Davis, 406 F.2d 1158, 1162 (5th
Cir. 1969)).
     1. Luna’s forfeited Second Amendment challenge to 18 U.S.C.
§ 922(g)(1) presents no substantial question because—as this Court has re-

peatedly held—no binding precedent supports it. Luna concedes that this
Court should review this forfeited claim for plain error. (Def. Br. 8.) Error
is “plain” only if it is “clear or obvious, rather than subject to reasonable

dispute.” United States v. Ramirez, 37 F.4th 233, 235 (5th Cir. 2022). This
Court “ordinarily do[es] not find plain error when [it has] not previously
addressed an issue.” United States v. Evans, 587 F.3d 667, 671 (5th Cir. 2009)
(quotation marks omitted). “Even where the argument requires only ex-
tending authoritative precedent, the failure of the district court to do so
cannot be plain error.” Id. (quotation marks omitted).


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     In at least five cases, this Court has held that “[b]ecause there is no
binding precedent explicitly holding that § 922(g)(1) is unconstitutional

and because it is not clear that Bruen dictates such a result, [a defendant]
is unable to demonstrate an error that is clear or obvious.” United States v.
Johnson, No. 22-20300, 2023 WL 3431238, at *1 (5th Cir. May 12, 2023)
(unpublished); accord United States v. Wilson, No. 22-40591, 2023 WL
3267842, at *3 (5th Cir. May 5, 2023) (unpublished); United States v. Pickett,
No. 22-11006, 2023 WL 3193281, at *1 (5th Cir. May 2, 2023) (un-

published); United States v. Hickcox, No. 22-50365, 2023 WL 3075054, at
*1 (5th Cir. Apr. 25, 2023) (unpublished); United States v. Roy, No. 22-
10677, 2023 WL 3073266, at *1 (5th Cir. Apr. 25, 2023) (unpublished).
No intervening precedent improves the picture for Luna. These cases de-
feat Luna’s plain-error challenge, leaving no substantial Second Amend-
ment question.
     Indeed, Luna’s claim is not just unsupported by precedent—it is fore-
closed. Under the rule of orderliness, “one panel of [this] court may not
overturn another panel’s decision, absent an intervening change in the law,

such as by a statutory amendment, or the Supreme Court, or our en banc
court.” In re Bonvillian Marine Serv., Inc., 19 F.4th 787, 792 (5th Cir. 2021).
“[F]or a Supreme Court decision to change [this] Circuit’s law, it must be

more than merely illuminating with respect to the case before the court
and must unequivocally overrule prior precedent.” Id. (brackets and inter-
nal quotation marks omitted).

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     This Court’s binding precedents uphold § 922(g)(1) because it squares
with “the historically understood right to bear arms protected by the Sec-

ond Amendment.” United States v. Darrington, 351 F.3d 632, 634 (5th Cir.
2003); see also United States v. Everist, 368 F.3d 517, 519 (5th Cir. 2004)
(same). This Court has repeatedly recognized that Darrington and Everist
foreclose Second Amendment challenges to § 922(g)(1). See, e.g., United
States v. Massey, 849 F.3d 262, 265 (5th Cir. 2017); United States v. Scroggins,
599 F.3d 433, 451 (5th Cir. 2010); United States v. Anderson, 559 F.3d 348,

352 (5th Cir. 2009); United States v. Mares, 402 F.3d 511, 516 (5th Cir. 2005).
     Bruen did not unequivocally overrule this Court’s § 922(g)(1) prece-
dents. Cf. United States v. Sitladeen, 64 F.4th 978, 987 (8th Cir. 2023) (hold-
ing that Bruen did not overrule precedents foreclosing Second Amendment
challenges to § 922(g)(5)). Bruen did not address status-based criminal laws
like § 922(g)(1). Bruen’s broadest holding was that means-end scrutiny is
“inconsistent with Heller’s historical approach.” 142 S. Ct. at 2129. But,
Bruen explained, prior circuit precedents “ascertain[ing] the original scope
of the right based on its historical meaning” were “broadly consistent with

Heller.” Id. at 2126–27. This Court’s pre-Bruen precedents did exactly that,
asking whether § 922(g)(1) infringed the Second Amendment right “as his-
torically understood.” See Darrington, 351 F.3d at 633–34. Since Bruen, this

Court has reconfirmed—albeit in dicta—that being a convicted felon or
member of another group subject to “longstanding prohibition[s] on the
possession of firearms” excludes a person “from the political community

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within the [Second Amendment’s] scope.” United States v. Rahimi, 61 F.4th
443, 452 (5th Cir. 2023). Luna thus presents no substantial argument for

upsetting this Court’s binding precedent.
     Were all this not enough, a veritable wall of persuasive authority
shows that Luna presents no substantial Second Amendment question.
The only circuit panel to decide whether § 922(g)(1) violates the Second
Amendment post-Bruen held (albeit in a decision now vacated pending en
banc rehearing) that the Second Amendment does not cover convicted fel-

ons and that, even if it did, § 922(g)(1) squares with the nation’s historical
tradition of gun regulation. See Range v. Att’y Gen. United States, 53 F.4th
262, 282–85 (3d Cir. 2022), reh’g en banc granted, opinion vacated sub nom.,
56 F.4th 992 (3d Cir. 2023); see also United States v. Hill, No. 22-2400, 2023
WL 2810289, at *2 (7th Cir. Apr. 6, 2023) (unpublished) (agreeing with
defense counsel’s Anders brief that a plain-error Second Amendment chal-
lenge to § 922(g)(1) would be frivolous); United States v. Mattocks, No. 22-
3008, 2023 WL 1769950, at *1 (D.C. Cir. Feb. 6, 2023) (unpublished) (af-
firming the denial of coram nobis relief because the defendant had not

“demonstrated fundamental error based on his argument that his convic-
tion under § 922(g)(1) violated the Second Amendment”); United States v.
Gonzalez, No. 22-1242, 2022 WL 4376074, at *2 (7th Cir. Sept. 22, 2022)

(unpublished) (agreeing with defense counsel’s Anders brief that “it would
be frivolous to argue that § 922(g)(1) is unconstitutional [under the Second
Amendment] as applied to” a violent felon). Almost 150 post-Bruen

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district-court decisions (and counting) also unanimously hold that
§ 922(g)(1) does not violate the Second Amendment. 1 The government

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  See United States v. Meyer, No. 22-cr-10012, Dkt. No. 53 (S.D. Fl. May 9,
2023); United States v. Carter, No. 22-cr-20477, Dkt. No. 51 (E.D. Mi. May
9, 2023); United States v. Bluer, No. 22-cr-20557, Dkt. No. 27 (E.D. Mi.
May 8, 2023); United States v. Hazley, No. 22-cr-20612, Dkt. No. 32 (E.D.
Mi. May 5, 2023); United States v. Murphy, No. 22-cr-121, Dkt. No. 42
(N.D. Ill. May 3, 2023); United States v. Thompson, No. 22-cr-173, Dkt. No.
53 (E.D. La. Apr. 7, 2023); United States v. Taylor, No. 22-cr-20315, Dkt.
No. 36 (E.D. Mi. Apr. 26, 2023); United States v. McIlwain, No. 2:23-cr-
20012, Dkt. No. 28 (E.D. Mi. Apr. 26, 2023); United States v. Thomas, No.
2:23-cr-20036, Dkt. No. 27 (E.D. Mi. Apr. 25, 2023); United States v. Cum-
mings, No. 1:22-cr-51, Dkt. No. 49 (N.D. Ind. Apr. 20, 2023); United States
v. Payne, No. 4:22-cr-173, Dkt. No. 24 (S.D. Tex. Apr. 12, 2023); United
States v. Guthery, No. 2:22-cr-173, Dkt. No. 49 (E.D. Cal. Mar. 29,
2023); United States v. Finney, No. 2:23-cr-13, Dkt. No. 23 (E.D. Va. Mar.
29, 2023); United States v. Dixon, No. 1:22-cr-140, Dkt. No. 76 (N.D. Ill.
Mar. 28, 2023); United States v. Pena, No. 2:22-cr-366, Dkt. No. 95 (C.D.
Cal. Mar. 21, 2023); United States v. Hoeft, No. 4:21-cr-40163, Dkt. No. 103
(D. S.D. Mar. 21, 2023); United States v. Rice, No. 3:22-cr-36, Dkt. No. 40
(N.D. Ind. Mar. 17, 2023); United States v. Davis, No. 1:21-cr-206, Dkt. No.
86 (E.D. Cal. Mar. 14, 2023); United States v. Kilgore, No. 1:21-cr-277, Dkt.
No. 40 (E.D. Cal. Mar. 14, 2023); United States v. Lindsey, No. 4:22-cr-138,
Dkt. No. 25 (S.D. Iowa Mar. 10, 2023); United States v. Tribble, No. 2:22-
cr-85, Dkt. No. 48 (N.D. Ind. Mar. 10, 2023); Leonard v. United States, No.
1:22-cv-22670, Dkt. No. 15 (S.D. Fla. Mar. 10, 2023); United States v. Ther-
rien, No. 1:21-cr-10323 (D. Mass. Mar. 6, 2023); United States v. Price, No.
1:19-cr-824, Dkt. No. 105 (N.D. Ill. Mar. 3, 2023); United States v. Belin,
No. 1:21-cr-10040, Dkt. No. 65 (D. Mass. Mar. 2, 2023); United States v.
Clark, No. 1:20-cr-49, Dkt. No. 61 (N.D. Ind. Mar. 2, 2023); United States
v. Braster, No. 1:20-cr-66, Dkt. No. 42 (N.D. Ind. Mar. 2, 2023); United
States v. Barnes, No. 1:22-cr-43, Dkt. No. 42 (S.D.N.Y. Feb. 28, 2023);
United States v. Beard, No. 4:22-cr-92, Dkt. No. 58 (S.D. Tex. Feb. 27,
2023); United States v. Smith, No. 2:22-cr-20351, Dkt. No. 35 (E.D. Mich.
Feb. 24, 2023); United States v. Barber, No. 3:22-cr-65, Dkt. No. 58 (D. Ak.
Feb. 21, 2023); United States v. Ross, No. 2:22-cr-20049, Dkt. No. 34 (E.D.
Mich. Feb. 15, 2023); United States v. Price, No. 1:21-cr-164, Dkt. No. 122
(N.D. Ill. Feb. 13, 2023); United States v. Gleaves, No. 3:22-cr-14, Dkt. No.
116 (M.D. Tenn. Feb. 6, 2023); United States v. Bacchus, No. 2:22-cr-450,
Dkt. No. 120 (C.D. Cal. Feb. 2, 2023); United States v. Isaac, No. 5:22-cr-
117, Dkt. No. 27, 2023 WL 1415597 (N.D. Ala. Jan. 31, 2023); United
States v. Taylor, No. 3:22-cr-22, Dkt. No. 32, 2023 WL 1423725 (E.D. Ky.
Jan. 31, 2023); United States v. Barber, No. 4:20-cr-384, Dkt. No.
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118, 2023 WL 1073667 (E.D. Tex. Jan. 27, 2023); United States v. Hester,
No. 1:22-cr-20333, Dkt. No. 39 (S.D. Fla. Jan. 27, 2023); United States v.
Brown, No. 2:20-cr-260, Dkt. No. 186, 2023 WL 424260 (E.D. Pa. Jan. 26,
2023); United States v. Rush, No. 4:22-cr-40008, Dkt. No.
46, 2023 WL 403774 (S.D. Ill. Jan. 25, 2023); Davis v. United States, No.
5:22-cv-224, Dkt. No. 1, 2023 WL 373172 (E.D. Ky. Jan. 24, 2023); Battles
v. United States, No. 4:23-cv-63, Dkt. No. 2, 2023 WL 346002 (E.D. Mo.
Jan. 20, 2023); United States v. Gordon, No. 1:14-cr-312, Dkt. No.
170, 2023 WL 336137 (N.D. Ga. Jan. 20, 2023); Shipley v. Hijar, No. 3:23-
cv-11, Dkt. No. 3, 2023 WL 353994 (W.D. Tex. Jan. 20, 2023); United
States v. Smith, No. 2:19-cr-505, Dkt. No. 183 (C.D. Cal. Jan. 19,
2023); United States v. Serrano, No. 3:21-cr-1590, Dkt. No. 65 (S.D. Cal.
Jan. 17, 2023); United States v. Tucker, No. 2:22-cr-17, Dkt. No. 30,
2023 WL 205300 (S.D. W. Va. Jan. 17, 2023); United States v. Robinson, No.
4:22-cr-70, Dkt. No. 39, 2023 WL 214163 (W.D. Mo. Jan. 17, 2023);
United States v. Whittaker, No. 1:22-cr-272, Dkt. No. 33 (D.D.C. Jan. 12,
2023); United States v. Spencer, No. 2:22-cr-561, Dkt. No. 24 (S.D. Tex. Jan.
12, 2023); United States v. Garrett, No. 1:18-cr-880, Dkt. No. 144 (N.D. Ill.
Jan. 11, 2023); United States v. Moore, No. 3:20-cr-474, Dkt. No.
100, 2023 WL 154588 (D. Or. Jan. 11, 2023); United States v. Jordan, No.
3:22-cr-1140, Dkt. No. 39, 2023 WL 157789 (W.D. Tex. Jan. 11,
2023); Campiti v. Garland, No. 3:22-cv-177, Dkt. No. 27 (D. Conn. Jan. 10,
2023); United States v. Coleman, No. 3:22-cr-8, Dkt. No.
117, 2023 WL 122401 (N.D. W.Va. Jan. 6, 2023); United States v. Medrano,
No. 3:21-cr-39, Dkt. No. 65, 2023 WL 122650 (N.D. W.Va. Jan. 6,
2023); United States v. Olson, No. 1:22-cr-20525, Dkt. No. 33 (S.D. Fla. Jan.
5, 2023); United States v. Good, No. 1:21-cr-180, 2022 WL 18107183 (W.D.
Mo. Nov. 18, 2022), report and recommendation adopted,
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1:22-cr-99, 2022 WL 17975985 (D. Idaho Dec. 27, 2022); United States v.
Jones, No. 5:22-cr-376, Dkt. No. 59 (W.D. Okla. Dec. 23, 2022); United
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2022); United States v. Dawson, No. 3:21-cr-293, 2022 WL 17839807
(W.D.N.C. Dec. 21, 2022); United States v. Goins, No. 5:22-cr-91, Dkt. No.
32 (E.D. Ky. Dec. 21, 2022); United States v. Mugavero, No. 3:22-cr-1716,
Dkt. No. 29 (S.D. Cal. Dec. 19, 2022); United States v. Roux, No. 1:22-cr-
19 (D. N.H. Dec. 16, 2022); United States v. Hunter, No. 1:22-cr-
84, 2022 WL 17640254 (N.D. Ala. Dec. 13, 2022); United States v. Spencer,
No. 2:22-cr-106, , 2022 WL 17585782 (E.D. Va. Dec. 12, 2022); United
States v. Dotson, No. 3:22-cr-1502, Dkt. No. 26 (S.D. Cal. Dec. 12,
2022); United States v. Tran, No. 3:22-cr-331, Dkt. No. 63 (S.D. Cal. Dec.
12, 2022); United States v. Fencl, No. 3:21-cr-3101, Dkt. No. 81 (S.D. Cal.
Dec. 7, 2022); United States v. Perez-Garcia, No. 3:22-cr-1581, Dkt. No. 70
(S.D. Cal. Dec. 6, 2022); United States v. Walker, No. 2:19-cr-234, Dkt. No.
83 (E.D. Cal. Dec. 6, 2022); United States v. Grinage, No. 5:21-cr-399, Dkt.
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No. 51, 2022 WL 17420390 (W.D. Tex. Dec. 5, 2022); United States v. Wag-
oner, No. 4:20-cr-18, Dkt. No. 262, 2022 WL 17418000 (W.D. Va. Dec. 5,
2022); United States v. Gay, No. 4:20-cr-40026, Dkt. No. 412 (C.D. Ill. Dec.
5, 2022); Shelby-Journey-Egnis v. United States, No. 2:21-cr-20535, Dkt. No.
53 (E.D. Mich. Dec. 5, 2022); United States v. Glaze, No. 5:22-cr-425, Dkt.
No. 23 (W.D. Okla. Dec. 1, 2022); United States v. Ford, No. 4:21-cr-179,
Dkt. No. 52, 2022 WL 17327499 (W.D. Mo. Nov. 29, 2022); United States
v. Jones, No. 4:20-cr-354, Dkt. No. 78, 2022 WL 17327498 (W.D. Mo. Nov.
29, 2022); United States v. Jacobs, No. 2:22-cr-160, Dkt. No. 28 (C.D. Cal.
Nov. 28, 2022); United States v. Cage, No. 3:21-cr-68, Dkt. No. 41,
2022 WL 17254319 (S.D. Miss. Nov. 28, 2022); United States v. Willis, No.
1:22-cr-186, Dkt. No. 36 (D. Colo. Nov. 23, 2022); United States v. Teerlink,
No. 2:22-cr-24, Dkt. No. 33, 2022 WL 17093425 (D. Utah Nov. 21, 2022);
United States v. Brunson, No. 3:22-cr-149, Dkt. No. 66 (S.D. Cal. Nov. 18,
2022); United States v. Hill, No. 4:22-cr-249, Dkt. No. 42 (S.D. Tex. Nov.
17, 2022); United States v. Blackburn, No. 1:22-cr-209, Dkt. No. 28 (M.D.
Pa. Nov. 17, 2022); United States v. Mitchell, No. 1:22-cr-111, Dkt. No. 43
(S.D. Ala. Nov. 17, 2022); United States v. Dumont, No. 1:22-cr-53 (D. N.H.
Nov. 14, 2022); United States v. Baker, No. 2:20-cr-301, Dkt. No.
179, 2022 WL 16855423 (D. Utah Nov. 10, 2022); United States v. Carpen-
ter, No. 1:21-cr-86, Dkt. No. 38, 2022 WL 16855533 (D. Utah Nov. 10,
2022); United States v. Gray, No. 1:22-cr-247, Dkt. No.
22, 2022 WL 16855696 (D. Colo. Nov. 10, 2022); United States v. Moore,
No. 2:21-cr-121, Dkt. No. 81 (W.D. Pa. Nov. 9, 2022); United States v. Reese,
No. 2:19-cr-257, Dkt. No. 193 (W.D. Pa. Nov. 8, 2022); United States v.
Young, No. 2:22-cr-54, Dkt. No. 47 (W.D. Pa. Nov. 7, 2022); United States
v. Butts, No. 9:22-cr-33, Dkt. No. 33 (D. Mont. Oct. 31, 2022); United States
v. Burton, No. 3:22-cr-362, Dkt. No. 48 (D. S.C. Oct. 28, 2022); United
States v. Carleson, No. 3:22-cr-32, Dkt. No. 39 (D. Ak. Oct. 28,
2022); United States v. Grant, No. 3:22-cr-161, Dkt. No. 44, 2022
WL 16541138 (D. S.C. Oct. 28, 2022); Walker v. United States, No. 3:20-cv-
31, Dkt. No. 16, 2022 WL 16541183 (S.D. Cal. Oct. 28, 2022); United
States v. Law, No. 2:20-cr-341, Dkt. No. 60 (W.D. Pa. Oct. 27, 2022); United
States v. Borne, No. 1:22-cr-83, Dkt. No. 35 (D. Wyo. Oct. 24, 2022); United
States v. Minter, No. 3:22-cr-135, Dkt. No. 33 (M.D. Pa. Oct. 18,
2022); United States v. Melendrez-Machado, No. 3:22-cr-634, Dkt. No. 32, --
- F. Supp. 3d ----, 2022 WL 17684319 (W.D. Tex. Oct. 18, 2022); United
States v. Raheem, No. 3:20-cr-61, Dkt. No. 389, 2022 WL 10177684 (W.D.
Ky. Oct. 17, 2022); United States v. Ridgeway, No. 3:22-cr-175, Dkt. No.
32, 2022 WL 10198823 (S.D. Cal. Oct. 17, 2022); United States v. Trinidad,
No. 3:21-cr-398, Dkt. No. 99, 2022 WL 10067519 (D.P.R. Oct. 17, 2022);
United States v. Carrero, No. 2:22-cr-30, Dkt. No. 50, 2022 WL 9348792 (D.
Utah Oct. 14, 2022); United States v. Ortiz, No. 3:21-cr-2503, Dkt. No. 91
(S.D. Cal. Oct. 14, 2022); United States v. Riley, No. 1:22-cr-163, Dkt. No.
37, 2022 WL 7610264 (E.D. Va. Oct. 13, 2022); United States v. Price, No.
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knows of no decision holding § 922(g)(1) unconstitutional after Bruen.
Luna cannot credibly say that this broad consensus is not just wrong, but

clearly or obviously so.




2:22-cr-97, --- F. Supp. 3d ----, 2022 WL 6968457, at *6-9 (S.D. W.Va. Oct.
12, 2022); United States v. King, No. 7:21-cr-255, Dkt. No. 50, 2022 WL
5240928 (S.D.N.Y. Oct. 6, 2022); United States v. Daniels, No. 1:03-cr-83,
Dkt. No. 69, 2022 WL 5027574 (W.D.N.C. Oct. 4, 2022); United States v.
Charles, No. 7:22-cr-154, Dkt. No. 48, 2022 WL 4913900 (W.D. Tex. Oct.
3, 2022); United States v. Williams, No. 3:21-cr-478, Dkt. No. 76 (S.D. Cal.
Sept. 30, 2022); United States v. Harper, No. 5:21-cr-4085, 2022 WL
8288406 (N.D. Iowa Sept. 9, 2022), report and recommendation adopted,
2022 WL 4595060 (N.D. Iowa Sept. 30, 2022); United States v. Campbell,
No. 5:22-cr-138, Dkt. No. 64 (W.D. Okla. Sept. 27, 2022); United States v.
Siddoway, No. 1:21-cr-205, Dkt. No. 54, 2022 WL 4482739 (D. Idaho
Sept. 27, 2022); United States v. Perez, No. 3:21-cr-508, Dkt. No. 78 (S.D.
Cal. Sept. 26, 2022); United States v. Collette, No. 7:22-cr-141, Dkt. No.
66, 2022 WL 4476790 (W.D. Tex. Sept. 25, 2022); United States v. Delpri-
ore, No. 3:18-cr-136, Dkt. No. 287 (D. Ak. Sept. 23, 2022); United States v.
Coombes, No. 4:22-cr-189, Dkt. No. 39, 2022 WL 4367056 (N.D. Okla.
Sept. 21, 2022); United States v. Hill, No. 3:21-cr-107, Dkt. No. 70, 2022
WL 4361917 (S.D. Cal. Sept. 20, 2022); United States v. Rojo, No. 3:21-cr-
682, Dkt. No. 50 (S.D. Cal. Sept. 14, 2022); United States v. Cockerham, No.
5:21-cr-6, Dkt. No. 31 (S.D. Miss. Sept. 13, 2022); United States v. Jackson,
No. 0:21-cr-51, Dkt. No. 114, 2022 WL 4226229 (D. Minn. Sept. 13,
2022); United States v. Havins, No. 3:21-cr-1515, Dkt. No. 62 (S.D. Cal.
Sept. 12, 2022); United States v. Patterson, No. 7:19-cr-231 (S.D.N.Y. Sept.
9, 2022); United States v. Doty, No. 5:21-cr-21, Dkt. No. 34 (N.D. W.Va.
Sept. 9, 2022); United States v. Burrell, No. 3:21-cr-20395, Dkt. No.
34, 2022 WL 4096865 (E.D. Mich. Sept. 7, 2022); United States v. Randle,
No. 3:22-cr-20, Dkt. No. 34 (S.D. Miss. Sept. 6, 2022); United States v. In-
gram, No. 0:18-cr-557, Dkt. No. 1714, --- F. Supp. 3d ---, 2022 WL 3691350
(D. S.C. Aug. 25, 2022); United States v. Nevens, No. 2:19-cr-774, Dkt. No.
121 (C.D. Cal. Aug. 15, 2022); United States v. Farris, No. 1:22-cr-149, Dkt.
No. 29 (D. Colo. Aug. 12, 2022); United States v. Adams, No. 1:20-cr-628
(S.D.N.Y. Aug. 10, 2022); United States v. Ramos, No. 2:21-cr-395, Dkt. No.
31 (C.D. Cal. Aug. 5, 2022); United States v. Doss, No. 4:21-cr-74, Dkt. No.
126 (S.D. Iowa Aug. 2, 2022); United States v. Maurice, No. 7:22-cr-48
(S.D.N.Y. Jul. 14, 2022).
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     2. Luna’s forfeited Commerce Clause challenge also presents no sub-
stantial question. As Luna concedes (Def. Br. 39), binding precedent fore-

closes that challenge. See United States v. Perryman, 965 F.3d 424, 426 (5th
Cir. 2020); Massey, 849 F.3d at 266; United States v. Alcantar, 733 F.3d 143,
145–46 (5th Cir. 2013).

                                C ONCLUSION

     This Court should summarily affirm Luna’s conviction. Should this
Court deny this motion, the government respectfully requests an addi-
tional 30 days to file its appellee’s brief.

                                         Respectfully submitted,
                                         JAIME E SPARZA
                                         United States Attorney
                                         /s/ Charles E. Fowler, Jr.
                                         C HARLES E. F OWLER , J R .
                                         Assistant United States Attorney
                     C ERTIFICATE      OF   C ONFERENCE

     I certify that on May 23, 2023, I contacted Luna’s counsel, Bradford
Bogan, who stated that Luna opposes this motion as to the Second
Amendment claim but does not oppose this motion as to the Commerce
Clause claim.

                                         /s/ Charles E. Fowler, Jr.
                                         C HARLES E. F OWLER , J R .
                                         Assistant United States Attorney




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                         C ERTIFICATE        OF   S ERVICE

     I certify that on May 23, 2023, I filed this motion through this Court’s
ECF system, which will serve it on all registered users.

                                         /s/ Charles E. Fowler, Jr.
                                         C HARLES E. F OWLER , J R .
                                         Assistant United States Attorney

                       C ERTIFICATE     OF   C OMPLIANCE

     I certify that:
     1. this motion complies with the type-volume limit of Federal Rule
of Appellate Procedure 27(d)(2)(A) because it contains 3,491 words, ex-
cluding parts exempted by Rule 32(f); and
     2. this motion complies with the typeface and type-style requirements
of Federal Rules of Appellate Procedure 27(d)(1)(E), 32(a)(5), and

32(a)(6) because it was prepared in a proportionally spaced typeface using
Microsoft Office Word 365 in size 14 Calisto MT font.
     Dated: May 23, 2023

                                         /s/ Charles E. Fowler, Jr.
                                         C HARLES E. F OWLER , J R .
                                         Assistant United States Attorney




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